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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

TIMOTHY TIDWELL, Individually,
Plaintiff,
VS. : Case No.
FELCOR/CMB BUCKHEAD HOTEL,
L.L.C., a Delaware Limited Liability
Company,

Defendant. :
/

 

COMPLAINT
(Injunctive Relief Demanded)

Plaintiff, TIMOTHY TIDWELL, Individually, on his behalf and on behalf

of all other mobility impaired individuals similarly situated, (sometimes referred to

as “Plaintiff’), hereby sues the Defendant, FELCOR/CMB BUCKHEAD HOTEL,

L.L.C., a Delaware Limited Liability Company, (sometimes referred to as

“Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses, and

costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”).

1. Plaintiff, Timothy Tidwell, is an individual residing in Atlanta, GA, in the

County of Fulton.
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Defendant’s property, Embassy Suites, is located at 3285 Peachtree Rd. NE,
Atlanta, GA 30305, in the County of Fulton.

Venue is properly located in the Northern District of Georgia because venue
lies in the judicial district of the property situs. The Defendant’s property is
located in and does business within this judicial district.

Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been
given original jurisdiction over actions which arise from the Defendant’s
violations of Title III of the Americans with Disabilities Act, 42 U.S.C.
§ 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

Plaintiff Timothy Tidwell is a Georgia resident, is sui juris, and qualifies as
an individual with disabilities as defined by the ADA. Mr. Tidwell has a
history of severe knee arthritis which requires him to use a wheelchair to get
around.

Timothy Tidwell stayed at the subject hotel on February 9 to 10, 2021. Mr.
Tidwell enjoys visiting the Buckhead area, and sometimes stays overnight
there because he enjoys the area and to confirm the facility is compliant with
the ADA. Mr. Tidwell plans to return to the property in the near future once
the property is made accessible. The Plaintiff has personally encountered
architectural barriers at the subject property, which barriers are enumerated

herein.
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Defendant owns, leases (or leases to), or operates a place of public
accommodation as defined by the ADA and the regulations implementing the
ADA, 28 CFR 36.201(a) and 36.104. Defendant is responsible for
complying with the obligations of the ADA. The place of public
accommodation that the Defendant owns, operates, leases or leases to is
known as Embassy Suites, and is located at 3285 Peachtree Rd. NE, Atlanta,
GA 30305.

Timothy Tidwell has a realistic, credible, existing and continuing threat of
discrimination from the Defendant’s non-compliance with the ADA with
respect to this property as described but not necessarily limited to the
allegations in paragraph 10 of this complaint. Mr. Tidwell has reasonable
grounds to believe that he will continue to be subjected to discrimination in
violation of the ADA by the Defendant. Timothy Tidwell desires to visit
Embassy Suites not only to avail himself of the goods and services available
at the property but to assure himself that this property is in compliance with
the ADA so that he and others similarly situated will have full and equal
enjoyment of the property without fear of discrimination.

The Defendant has discriminated against the individual Plaintiff by denying
him access to, and full and equal enjoyment of, the goods, services, facilities,

privileges, advantages and/or accommodations of the buildings, as prohibited

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by 42 U.S.C. § 12182 et seq.

The Defendant has discriminated, and is continuing to discriminate, against

the Plaintiff in violation of the ADA by failing to, inter alia, have accessible

facilities by January 26, 1992 (or January 26, 1993, if Defendant has 10 or

fewer employees and gross receipts of $500,000 or less). A preliminary

inspection of Embassy Suites has shown that violations exist. These

violations, which were personally encountered or observed by Plaintiff

Timothy Tidwell include, but are not limited to:

A. Parking

1.

There is no marked access aisle adjacent to the vehicle pull-up
space of the passenger loading zone making it difficult for the
Plaintiff to safely traverse to the lobby entrance, in violation of
Sections 503.3 and 503.3.3 of the 2010 ADA Standards, whose
resolution is readily achievable, and there is no sign designating
the loading zone.

B. Public Men’s Restroom

1.

The 12 inches of spacing above the side wall grab bar is
obstructed by the toilet seat cover dispenser and vertical grab bar
making it difficult for the Plaintiff to utilize, in violation of
Section 609.3 in the 2010 ADA Standards, whose resolution is
readily achievable.

C. Guest Room 407 (2 Bed 2 Bath Suite)

1.

The guest room identification signage is missing the
international symbol of accessibility to let the Plaintiff know it’s
an accessible room, in violation of Section 703.7.2.1 in the 2010
ADA Standards, whose resolution is readily achievable.

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2. The security latch lock is mounted higher than the maximum
height allowance of 48 inches above the finished floor making it
difficult for the Plaintiff to use, in violation of Sections 308.2.1
and 309.3 in the 2010 ADA Standards, whose resolution is

readily achievable.

3. The 60 inches of door maneuvering clearance perpendicular to
the doorway is obstructed by the television stand making it
difficult for the Plaintiff to utilize, in violation of Section
404.2.4 in the 2010 ADA Standards, whose resolution is readily

achievable.

4, The dresser drawer knobs require tight grasping and pinching
making it difficult for the Plaintiff to use, in violation of Section
309.4 in the 2010 ADA Standards, whose resolution is readily

achievable.

5. The microwave exceeds the maximum reach range height of 48
inches above the finish floor to the operable mechanism making
it difficult for the Plaintiff to utilize, in violation of Sections
309.3 and 308.2.2 in the 2010 ADA Standards, whose resolution

is readily achievable.

6. The toilet paper dispenser in both bathrooms are not 7 inches
minimum and 9 inches maximum from the front of the toilet to
the center of the dispenser as required making it difficult for the
Plaintiff to utilize, in violation of Section 604.7 in the 2010

ADA Standards, whose resolution is readily achievable.

7. The shower controls are not in the compliant location as
required making it difficult for the Plaintiff to use, in violation
of Section 608.5.2 in the 2010 ADA Standards, whose resolution

is readily achievable.
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14.

The operable mechanism on the hand-held shower spray unit to
be adjusted on the bar requires tight grasping and twisting of the
wrist to operate making it difficult for the Plaintiff to utilize, in

violation of Section 309.4 in the 2010 ADA Standards, whose
resolution is readily achievable.

The towel rack and trash receptacle are obstructing the water
closet’s 60 inches of perpendicular clearance from the side wall
making it difficult for the Plaintiff to utilize the toilet, in
violation of Section 604.3.1 in the 2010 ADA Standards, whose

resolution is readily achievable.

The bathtub does not provide a shower spray unit that can be
used in a fixed position and as a hand-held shower head making
it difficult for the Plaintiff to shower, in violation of Section
607.6 in the 2010 ADA Standards, whose resolution is readily
achievable.

The clearance around the water closet is not 60 inches
perpendicular from the side wall due to the obstruction of the
lavatory making it difficult for the Plaintiff to utilize, in
violation of Section 604.3.1 in the 2010 ADA Standards, whose

resolution is readily achievable.

The toilet is missing the rear wall and side wall grab bar making
it difficult for the Plaintiff to utilize, in violation of Section
604.5 in the 2010 ADA Standards, whose resolution is readily
achievable.

Both of these lavatories in the guest room do not provide knee
clearance as required making it difficult for the Plaintiff to use,
in violation of Sections 305.4 and 306.3 in the 2010 ADA
Standards, whose resolution is readily achievable.

In both bathrooms the flush control is not located on the open
side of the toilet making it difficult for the Plaintiff to use, in
violation of Sections 309 and 605.4 in the 2010 ADA Standards,

whose resolution is readily achievable.
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15. The side wall grab bar is in need of maintenance due to the
towel obstructing the grab bars gripping surface making it
difficult for the Plaintiff to use, in violation of Section 36.211 in
the Code of Federal Regulation, whose resolution is readily
achievable.

16. The side wall grab bar does not extend 54 inches from the rear
wall as required making it difficult for the Plaintiff to utilize, in

violation of Section 604.5.1 in the 2010 ADA Standards, whose
resolution is readily achievable.

17. The bathtub does not provide a seat with secure placement as
required making it difficult for the Plaintiff to utilize, in
violation of Section 610.2 in the 2010 ADA Standards, whose
resolution is readily achievable.

18. The grab bars in the bathtub are not in the compliant locations
on the wall as required making it difficult for the Plaintiff to

utilize, in violation of Section 607.4.2 in the 2010 ADA
Standards, whose resolution is readily achievable.

19. The bathtub controls are not located centerline of the bathtub
rim and the open side making it difficult for the Plaintiff to
operate, in violation of Section 607.5 in the 2010 ADA
Standards, whose resolution is readily achievable.

D. Lack of Compliant Disabled Rooms Properly Disbursed

1, The subject hotel lacks the required number of compliant
disabled rooms, and the disabled rooms are not dispersed

amongst the various classes of guest rooms in violation of
Section 224.5 of the 2010 ADAAG.

E. Maintenance

1. The accessible features of the facility are not maintained,
creating barriers to access for the Plaintiff, as set forth herein, in
violation of 28 CFR 36.211.

10. All of the foregoing violations are also violations of the 1991 Americans
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with Disabilities Act Accessibility Guidelines (ADAAG), and the 2010
Standards for Accessible Design, as promulgated by the U.S. Department of
Justice.

The discriminatory violations described in paragraph 10 are not an exclusive
list of the Defendant’s ADA violations. Plaintiff requires the inspection of
the Defendant’s place of public accommodation in order to photograph and
measure all of the discriminatory acts violating the ADA and all of the
barriers to access. The individual Plaintiff, and all other individuals
similarly situated, have been denied access to, and have been denied the
benefits of services, programs and activities of the Defendant’s buildings
and its facilities, and have otherwise been discriminated against and
damaged by the Defendant because of the Defendant’s ADA violations, as
set forth above. The individual Plaintiff, and all others similarly situated
will continue to suffer such discrimination, injury and damage without the
immediate relief provided by the ADA as requested herein. In order to
remedy this discriminatory situation, the Plaintiff requires an inspection of
the Defendant’s place of public accommodation in order to determine all of
the areas of non-compliance with the Americans with Disabilities Act.
Defendant has discriminated against the individual Plaintiff by denying him

access to full and equal enjoyment of the goods, services, facilities,
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privileges, advantages and/or accommodations of its place of public
accommodation or commercial facility in violation of 42 U.S.C. § 12181 et
seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to
discriminate against the Plaintiff, and all those similarly situated by failing
to make reasonable modifications in policies, practices or procedures, when
such modifications are necessary to afford all offered goods, services,
facilities, privileges, advantages or accommodations to individuals with
disabilities; and by failing to take such efforts that may be necessary to
ensure that no individual with a disability is excluded, denied services,
segregated or otherwise treated differently than other individuals because of
the absence of auxiliary aids and services.

Plaintiff is without adequate remedy at law and is suffering irreparable harm.
Considering the balance of hardships between the Plaintiff and Defendant, a
remedy in equity is warranted. Furthermore, the public interest would not be
disserved by a permanent injunction. Plaintiff has retained the undersigned
counsel and is entitled to recover attorney’s fees, costs and litigation
expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR
36.505.

Defendant is required to remove the existing architectural barriers to the

physically disabled when such removal is readily achievable for its place of
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public accommodation that have existed prior to January 26, 1992, 28 CFR
36.304(a); in the alternative, if there has been an alteration to Defendant’s
place of public accommodation since January 26, 1992, then the Defendant
is required to ensure to the maximum extent feasible, that the altered
portions of the facility are readily accessible to and useable by individuals
with disabilities, including individuals who use wheelchairs, 28 CFR 36.402;
and finally, if the Defendant’s facility is one which was designed and
constructed for first occupancy subsequent to January 26, 1993, as defined in
28 CFR 36.401, then the Defendant’s facility must be readily accessible to
and useable by individuals with disabilities as defined by the ADA.

Notice to Defendant is not required as a result of the Defendant’s failure to
cure the violations by January 26, 1992 (or January 26, 1993, if Defendant
has 10 or fewer employees and gross receipts of $500,000 or less). All other
conditions precedent have been met by Plaintiff or waived by the Defendant.
Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant
Plaintiff Injunctive Relief, including an order to require the Defendant to
alter Embassy Suites to make those facilities readily accessible and useable
to the Plaintiff and all other persons with disabilities as defined by the ADA;
or by closing the facility until such time as the Defendant cures its violations

of the ADA.

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WHEREFORE, Plaintiff respectfully requests:

a.

The Court issue a Declaratory Judgment that determines that the
Defendant at the commencement of the subject lawsuit is in violation
of Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181
et seq.

Injunctive relief against the Defendant including an order to make all
readily achievable alterations to the facility; or to make such facility
readily accessible to and usable by individuals with disabilities to the
extent required by the ADA; and to require the Defendant to make
reasonable modifications in policies, practices or procedures, when
such modifications are necessary to afford all offered goods, services,
facilities, privileges, advantages or accommodations to individuals
with disabilities; and by failing to take such steps that may be
necessary to ensure that no individual with a disability is excluded,
denied services, segregated or otherwise treated differently than other
individuals because of the absence of auxiliary aids and services.

An award of attorney’s fees, costs and litigation expenses pursuant to
42 U.S.C. § 12205.

Such other relief as the Court deems just and proper, and/or is

allowable under Title III of the Americans with Disabilities Act.

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Gi The Order shall further require the Defendant to maintain the required
accessible features on an ongoing basis.
Respectfully Submitted,

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Counsel for Plaintiff Timothy Tidwell

Counsel certifies that this filing is in an acceptable type and font, in accordance
with L.R. 5.1(B) and (C), NDGA.
